Case 2: 1Q- CV.8888- CJB-JCW Document 79332 Filed 04/20/11 Page 1 of 3

_qitRE: OIL. SPILL by “Deepwater Horizon”

as DIRECT FILING SHORT FORM'

<i by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
\(eSsies f said Order having also been filed in Civil Actions No. 10-8888 and 10-2771

JUDGE CARL BARI

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By submitting this document, | am asserting ; a claim i in Complaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)

filed in MDL No. 2179 (10 md 2179).

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men / 422 22. Z Beek Ly? to Goy-cere

INDIVIDUAL CLAIM

BUSINESS CLAIM

Employer Name Business Name

Job Title / Description Type of Business

Address Address |
City / State / Zip City / State / Zip

Last 4 digits of your Tax ID Number

Last 4 digits of your Social Security Number of % 4 1S

Attorney Name Firm Name
Address City / State / Zip
Phone Number E-Mail Address

. . 2 . . >. [rm '
Claim filed with BP? YES oO NO ol Claim Filed with GCCF?: YES C0 NO [7]
If yes, BP Claim No.: If yes, Claimant Identification No.:

ses SS SEP SS PO SA

Claim Type (Piease check all that apply):

perenne
Damage or destruction to real or personal property Fear of Future Injury and/or Medical Monitoring
Earnings/Profit Loss I Loss of Subsistence use of Natural Resources
Personal Injury/Death : _] Removal and/or clean-up costs :
Other: 1

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' This form should be filed with the U.S. District Court for the Eastern District of Louisiana in New Orleans, Louisiana in Civil Action No. 10-8888. While this Direct
Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL 2179), the flling of this form
in C.A. No. 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being notified electronidally by the Clerk
of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

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The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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Brief Description: |

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving rea! estate/property, include the property location, type of property (residential/commercial), and whethe physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at iss

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
e yers 2008 to present and complete authorization forms for each. '

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3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the nan of your
employer, and where you were working.

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The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.
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Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1

Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering. |
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Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, of charter
fishing business who earn their living through the use of the Gulf of Mexico.

Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

Recreational sport fishermen, recreational diver, beachgoer, or recreational boater. |
Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.
Owner, lessor, or lessee of real property alleged to be damaged, harmed or impacted, physically or economically, Including
lessees of oyster beds. i

Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry. |

Bank, financial institution, or retail business that suffered losses as a result of the spill.

10. Person wh eg sources eet ~ x
Ee Other: L ple, APA, ZL J Lift) ee

‘Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3

Boat captain or crew involved in the Vessels of Opportunity program.
Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

Vessel captain or crew who was not involved in the Vessels of Opportunity program but whe were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

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Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.

Resident who4 in close proximity to coastal waters.

Goth BP and the Gulf Coast Claims Facility (‘GCCF”) are hereby authorized to release to the Defendants| in MDL

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The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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